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                  Thomas-Jensen
                   Affirmation



                      Exhibit # 93
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


  STATE OF NEW YORK, et al.,

                 Plaintiffs,

         v.
                                                          C.A. No. 1:25-cv-00039
  DONALD TRUMP, IN HIS OFFICIAL CAPACITY
  AS PRESIDENT OF THE UNITED STATES, et al.,

                 Defendants.




 DECLARATION OF MELISSA A. CLAYTON IN SUPPORT OF PLAINTIFFS’ MOTION
                  FOR A PRELIMINARY INJUNCTION


 I, Melissa A. Clayton, hereby declare:
        1.      I am the Director of the Bureau of State Accounting Operations within the Office

 of the New York State Comptroller (“OSC”).

        2.      The Comptroller is the head of the department of audit and control (NY

 Constitution Article V, §4) and New York’s chief fiscal officer. OSC’s duties and responsibilities

 include auditing all vouchers before payment and all official accounts, auditing the accrual and

 collection of revenues and receipts, and prescribing such methods of accounting as are necessary

 for the performance of the foregoing duties (Article V, §1).

        3.      The Bureau of State Accounting Operations (“Bureau”) is responsible for managing

 the accounting records of the State, including appropriations, tax collections, refunds, state

 revenues, and federal grants. BSAO is also responsible for the cash management operations of the

 State, ensuring there is adequate cash resources for daily State payments.


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         4.       The Federal Billing and Project Section of the Bureau establishes and monitors

 project, grant, and federal contract billing records and executes the daily draw down of federal

 funds to finance State-administered federal programs.

         5.       I write this declaration to attest to disruptions we experienced from January 27,

 2025 through February 5, 2025 in facilitating the draw down of federal funds for New York State

 agencies. Some of these have resolved but the issues described herein persisted until February 5,

 2025.

         6.       We had a delay in receiving all Payment Management System (PMS) draws of a

 combined $73,660,032.94 requested on Monday, January 27, 2025, which we generally expect to

 receive within a day. We received none of this until we received a part of the total—

 $2,186,475.22—on January 29, 2025.

         7.       As of February 5, 2025, the State had not received $329,451,924.46 in draws from

 U.S. Department of Homeland Security (DHS) disaster grants. These normally would have been

 received the day after they were drawn:

              Draw
              Date        Deposit ID Amount
              1/29/2025   DHSES2064 $18,081,556.83
              1/29/2025   DHSES2061 $58,945,662.36
              1/29/2025   DHSES2068    $2,098,239.22
              1/29/2025   DHSES2069 $166,098,742.59
              1/29/2025   DHSES2066 $28,525,412.13
              1/30/2025   DHSES2065 $18,549,012.60
              1/30/2025   DHSES2070 $11,758,023.04
              1/31/2025   DHSES2071    $1,311,960.95
              1/31/2025   DHSES2073    $6,407,207.97
              1/31/2025   DHSES2072    $1,196,902.14
               2/3/2025   DHSES2074 $14,666,230.24
               2/3/2025   DHSES2076    $1,812,974.39


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 There are a number of other draws that were still outstanding as of February 5, 2025:

    Draw Date     Agency          Reference Award             Amount                    CFDA
                                                                            20.106 - Airport Improvement
                                                                            Program, Infrastructure
                                                                            Investment and Jobs Act
                                                                            Programs, and COVID-19
    1/27/2025     DOT01        FAA - 3-36-0028-54-20           $74,729.70   Airports Programs
                                                                            93.994 Maternal and Child
                                                                            Health Services Block Grant to
    1/27/2025     DOH01           23B04MC47435                $556,553.13   the States
                                                                            84.425 Education Stabilization
    1/31/2025     SED01            S425D210022              $5,763,492.00   Fund
                                                                            94.006 AmeriCorps State and
    1/31/2025     NCS01             21ACFNY001                $623,620.44   National
    2/4/2025      DOT01                                                     20.528 Rail Fixed Guideway
                                                                            Public Transportation System
                                                                            State Safety Oversight Formula
                                    NY-2020-086                $63,958.00   Grant Program
    2/4/2025      DOT01                                                     20.528 Rail Fixed Guideway
                                                                            Public Transportation System
                                                                            State Safety Oversight Formula
                                    NY-2020-026                $21,130.00   Grant Program
    2/4/2025      DOT01                                                     20.528 Rail Fixed Guideway
                                                                            Public Transportation System
                                                                            State Safety Oversight Formula
                                    NY-2021-070               $524,651.00   Grant Program
        8.      We were having delays receiving funds drawn by same day wire. Two wires were

 requested during this period and both were received after 5PM, and thus too late to invest funds

 overnight.

        9.      Any award on PMS showing Pending Review was taking more than a day to arrive,

 even for those that, before 01/27/2025, we would historically receive the next day.

        10.     Department of Health (DOH) grants drawn from the Automated Standard

 Application for Payments (ASAP) draw system were temporarily suspended on January 27, 2025.

        11.     As of February 5, 2025, we were still unable to draw funding on ASAP from the

 Drinking Water State Revolving Fund or funds awarded for National Cooperative Geologic

 Mapping although these funds did not appear in ASAP as currently suspended. Grant funding for

 the Earth Mapping Resources initiative is appearing as suspended on ASAP.




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        12.      Some State Administrative Matching Grants for the Supplemental Nutrition

 Assistance Program (SNAP) were still suspended in ASAP as of February 5, 2025. These funds

 go to the New York Office of Temporary and Disability Assistance.

              202424Q390344 – from US_AGRICULT – CFDA – 10.561 - State Administrative
              Matching Grants for the Supplemental Nutrition Assistance Program
              202424S252044 – from US_AGRICULT – CFDA – 10.561 - State Administrative
              Matching Grants for the Supplemental Nutrition Assistance Program
              202424S251944 - from US_AGRICULT – CFDA – 10.561 - State Administrative
              Matching Grants for the Supplemental Nutrition Assistance Program

        13.      Were New York State unable to continue to receive any of these funds, the harm to

 state finances would be significant. The funding described above reimburses the state for funding

 already spent. In other words, the State would have to cover the entire amount of funding frozen.

 I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.

 Executed this 6th day of February, 2025, in Albany, New York.




                                                               ______________________________
                                                                     Melissa A. Clayton




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